       Case: 1:23-cv-02285 Document #: 1 Filed: 04/11/23 Page 1 of 11 PageID #:1




                        IN THE UNITED STATES DISTRICT COURT

                       FOR THE NORTHERN DISTRICT OF ILLINOIS

                                  EASTERN DIVISION

 ROBERTO GARCIA,



          Plaintiff,

 v.

 PALOS HEIGHTS POLICE                              Case No. 23-cv-2285
 DEPARTMENT; Officer Birkmeier, D
 (DB1110); Marcinowski (Badge 108
 IL01685ACE); Paluch, K. (KP1119);
 Nagy, A (AN1158).
                                                   JURY DEMAND


          Defendant.



                                     COMPLAINT
             NOW COMES the PLAINTIFF, ROBERTO GARCIA, by and through his

attorney(s) Frank Avila of the Avila Law Group, LLC, and in complaining of

DEFENDANTS, PALOS HEIGHTS POLICE DEPARTMENT; Officer Birkmeier, D

(DB1110); Marcinowski (Badge 108 IL01685ACE); Paluch, K. (KP1119); Nagy, A

(AN1158) states as follows:

      1. In this civil action, Roberto Garcia seeks damages against the Palos Heights

         Police Department, and Palos Heights Police Department officers for the

         deprivation of rights secured by the Fourth Amendment to the Constitution

         of the United States and the laws of the United States.
 Case: 1:23-cv-02285 Document #: 1 Filed: 04/11/23 Page 2 of 11 PageID #:2

2. The Defendants wrongfully, without probable cause, and negligently arrested

   Plaintiff in Palos Heights, Illinois in an unreasonable manner, causing

   serious damage to Plaintiff and his constitutional rights and property. This

   unreasonable arrest deprived Plaintiff of his rights as a United States

   Citizen.

                             Jurisdiction and Venue

3. The jurisdiction of the Court is invoked pursuant to the Civil Rights Act, 42

   U.S.C. § 1983 and § 1988, 28 U.S.C. Section 1331 and Section 1343(a), the

   Constitution of the United States, and pendent jurisdiction as provided under

   U.S.C. 1367(a).

4. Venue is proper under 28 U.S.C. § 1391(b), because the Defendants are

   located in this judicial district, and the events giving rise to the claims

   asserted herein occurred within this judicial district.

                                      PARTIES

5. Plaintiff, Roberto Garcia is a United States citizen and a resident of Cook

   County, Illinois. He serves as a Police sergeant in the Cicero Police

   Department.

6. Defendant’s Police officers Officer Birkmeier, D (DB1110); Marcinowski, F

   (Badge 108 IL01685ACE); Paluch, K. (KP1119); and Supervisor Nagy, A

   (AN1158) were at all times material hereto, duly appointed Officers employed

   by Defendant City of PALOS HEIGHTS acting in the capacity of sworn law

   enforcement officials.

7. Defendant PALOS HEIGHTS POLICE DEPARTMENT an Illinois municipal

   corporation located in Cook County, Illinois.
                                       2
 Case: 1:23-cv-02285 Document #: 1 Filed: 04/11/23 Page 3 of 11 PageID #:3

                                 BACKGROUND

8. On April 13th, the Roberto Garcia was being promoted to the rank of

   Sergeant at the Cicero Police Department.

9. Roberto Garcia traveled to the ceremony with Beatriz Lappay’s children and

   met her at the ceremony.

10. During the ceremony, the Roberto Garcia's daughter Esperanza was

   broadcasting it due to limited guests allowed because of the pandemic.

11. After the ceremony, while taking pictures with family members, Esperanza

   handed the Roberto Garcia a computer and asked him to take a picture with

   Beatriz, who was on Zoom. The complainant also took pictures with his

   brother, niece, and sister-in-law on Zoom. They then left for the Capri

   Restaurant in Burr Ridge.

12. Beatriz expressed her displeasure at Roberto Garcia taking a picture with his

   ex-wife on Zoom at the restaurant, but Roberto Garcia stated that it was not

   the place to discuss it.

13. While leaving the restaurant, Beatriz threatened the Roberto Garcia, saying,

   "veras quando llegamos a la casa" which means "you'll see when we get

   home" in Spanish.

14. Roberto Garcia responded by saying, "I am not your kid". Roberto Garcia then

   dropped off his daughter at her mother's house in Willow Springs where his

   ex-wife congratulated him and advised him to stay at her house if Beatriz

   started arguing with him at home.

15. Upon arriving home, Roberto Garcia went to the basement to remove his

   police dress uniform and placed it on hangers. Roberto Garcia went back
                                       3
 Case: 1:23-cv-02285 Document #: 1 Filed: 04/11/23 Page 4 of 11 PageID #:4

   upstairs and sat at the kitchen island with his iPad. Beatriz began yelling at

   him for taking a picture with his ex-wife, and they argued about it.

16. Beatriz threatened to leave with the children, but Roberto Garcia suggested

   that he would leave so that she could stay with them. Roberto Garcia went

   down to pack his clothes, at which point he heard a loud bang of things

   falling to the ground. Beatriz's children were awake and playing video games

   when this occurred. Roberto Garcia advised the children to call their father to

   come and get them.

17. Upon returning to the kitchen island, Beatriz continued to yell at her son,

   who was seven years old, to throw out the garbage.

18. Roberto Garcia advised her not to yell at him, and she responded by saying,

   "he's not your son". Beatriz then took Roberto Garcia's iPad and threw it

   across the room, shattering the glass. She then grabbed his printer, threw it

   off the kitchen countertop, and smashed it on the ground.

19. Roberto Garcia stood up to stop her from throwing his phone, but she grabbed

   it and threw it on the ground. She then claimed that Roberto Garcia had

   slapped her, which was not true.

20. She went to the door, opened it, and began yelling for help, causing a

   disturbance. The children were yelling downstairs, telling her to stop being

   embarrassing.

21. Roberto Garcia walked her back to the door and closed it. Beatriz threw

   herself on the floor and began yelling at Roberto Garcia.

22. Roberto Garcia attempted to pick her up off the floor, but she screamed,

   "don't fucking touch me," and he stepped away from her.
                                      4
 Case: 1:23-cv-02285 Document #: 1 Filed: 04/11/23 Page 5 of 11 PageID #:5

23. She then called 911 and made false accusations that Roberto Garcia had

   struck her. Roberto Garcia attempted to reason with Beatriz, but she

   continued with her call and waited for the police to arrive.

24. Roberto Garcia attempted to reason with Beatriz and explain to her that

   involving the police in their lives for no valid reason would not be beneficial

   for either of them. Despite this, Roberto Garcia waited for the police to arrive

   after Beatriz called them.

25. Upon their arrival, the police entered the house in an aggressive manner.

   Roberto Garcia informed the officers that he was a police sergeant and had

   not laid a hand on Beatriz. Nevertheless, the officers asked him to step

   outside and separated him, Beatriz, and their children.

26. Roberto Garcia attempted to explain to the sergeant and other officers that

   Beatriz was upset with him for taking a picture with his ex-wife and was

   falsely accusing him of slapping her. However, the sergeant related that

   Beatriz had alleged that he had slapped her, and that she had redness on her

   face and bruising on her knees.

27. Roberto Garcia informed the sergeant that bruising can take up to 48 hours

   to show and asked him if he was aware of that fact. When Roberto Garcia

   asked the sergeant to interview the children, the sergeant informed him that

   Beatriz had not allowed him to do so.

28. Roberto Garcia pointed out that this was a red flag, but the sergeant

   nevertheless decided to arrest him.

29. Roberto Garcia also informed the officers that Beatriz had destroyed his iPad,

   printer, and phone and requested to file a complaint against her for domestic
                                         5
 Case: 1:23-cv-02285 Document #: 1 Filed: 04/11/23 Page 6 of 11 PageID #:6

   criminal damage to property. However, the sergeant denied him the right to

   file a complaint against Beatriz, and the officers arrested him instead.

   During the arrest, the officer handling the plaintiff became aggressive and

   pulled his arms aggressively, causing extreme pain to his shoulder.

30. Roberto Garcia s son later sent a text message to Isabella, whose contents

   should be in the file, but the police failed to investigate it. The detectives did

   not attempt to schedule a forensic interview with the minor Isabella.

31. On an unknown date, Roberto Garcia was given an order to remove his

   property from the house, but Beatriz had changed the locks. Despite this,

   Roberto Garcia was able to enter the garage with the code and began loading

   his personal belongings. However, upon the sergeant's arrival, he informed

   Roberto Garcia that he was only allowed to take what the sergeant permitted

   him to take.

32. Roberto Garcia informed the officer that the judge's order superseded the

   sergeant's authority, but the sergeant still refused to let him take any of his

   property, claiming that what was hers was his and what was his was hers.

33. At a later date, Roberto Garcia received notice that Beatriz was selling his

   personal property on Facebook. He contacted his attorney and was able to

   obtain a second property removal order. However, when he contacted the

   Palos Heights Police Department for assistance, the same sergeant informed

   him that he was not allowed to remove any property unless it was specific

   and he could provide a receipt. Despite informing the sergeant that Beatriz

   was selling all of his personal belongings, the sergeant claimed that it was

   not his problem and that they were not going to provide a police escort.
                                        6
     Case: 1:23-cv-02285 Document #: 1 Filed: 04/11/23 Page 7 of 11 PageID #:7

                                     COUNT I

 (Garcia’s Claim for False Arrest and Imprisonment against One or More
                           Defendant Officers)

   34. Garcia realleges paragraphs 1-33 with the same force and effect as if fully set

      forth herein.

   35. The actions and conduct of one or more Defendant Officers, as set forth

      above, in falsely arresting and imprisoning Mr. Garcia on April 13th, 2021

      under color of law and without probable cause violated his Fourth

      Amendment rights and one or more Defendant Officers should be held liable

      for doing so pursuant to 42 U.S.C. § 1983.

   36. The actions and conduct of one or more Defendant Officers, as set forth

      above, were the direct and proximate cause of the violations of Jones’ Fourth

      Amendment rights and caused the damages as set forth above.

      WHEREFORE, pursuant to 42 U.S.C. § 1983, Garcia demands actual or

compensatory damages plus the costs of this action and attorney fees from one or

more Defendant Officers; in addition, Garcia demands punitive damages against

one or more Defendant Officers as these individual Defendants acted willfully,

wantonly and/or in reckless disregard of Garcia’s rights; and, whatever additional

relief this Honorable Court deems just equitable and just.

                                    COUNT II
(42 U.S.C. § 1983 Conspiracy Claim to Deprive Garcia of his Constitutional
               Rights against One or More Defendant Officers)

   37. Garcia realleges paragraphs 1-38 with the same force and effect as if fully set

      forth herein.




                                          7
     Case: 1:23-cv-02285 Document #: 1 Filed: 04/11/23 Page 8 of 11 PageID #:8

   38. Two or more of the Defendant Officers reached an agreement amongst

      themselves to unlawfully seize Garcia and to continue the unlawful seizure of

      Garcia and his property thereby depriving Garcia of his rights under the

      Fourth Amendment and 42 U.S.C. § 1983 as set forth above.

   39. In furtherance of the conspiracy, each of the co-conspirators committed overt

      acts and was an otherwise willful participant in joint activity as set forth

      above.

   40. The misconduct described in this Count was undertaken with malice,

      willfulness, wantonly and with reckless indifference to the rights of others.

   41. The actions and conduct of two or more of the Defendant Officers, as set forth

      above, were the direct and proximate cause of the violations of Garcia’s

      Fourth Amendment rights and caused the damages as set forth above.

   42. As outlined above, Defendant police officers detained plaintiff without

      probable cause for one night in violation of plaintiff’s fourth amendment

      rights.

   43. The misconduct of Defendants as outlined above proximately caused injury to

      plaintiff, including, but not limited to, emotional pain and suffering.

      WHEREFORE, pursuant to 42 U.S.C. § 1983 Garcia demands actual or

compensatory damages plus the costs of this action and attorney fees; in addition,

Garcia demands punitive damages as these individual Defendants acted willfully,

wantonly, maliciously and/or in reckless disregard of his rights; and, whatever

additional relief this Honorable Court deems just equitable and just.




                                          8
     Case: 1:23-cv-02285 Document #: 1 Filed: 04/11/23 Page 9 of 11 PageID #:9

                                     COUNT III

 (Garcia’s Pendent State Claim for Malicious Prosecution Against one or
                        more Defendant Officers)

   44. Garcia realleges paragraphs 1-43 with the same force and effect as if fully set

      forth herein.

   45. The actions and conduct of one or more Defendant Officers, as set forth

      above, constitute malicious prosecution under the laws of the State of Illinois;

      as such, one or more Defendant Officer should be held liable for doing so

      pursuant to the laws of the State of Illinois.

   46. The actions and conduct of one or more Defendant Officer, as set forth above,

      were the direct and proximate cause of the violations of Garcia’s right to be

      free from malicious prosecution and caused the damages as set forth above.

      WHEREFORE, pursuant to Illinois state law, Garcia demands actual or

compensatory damages plus the costs of this action from one or more Defendant

Officers; in addition, Garcia demands punitive damages against one or more

Defendant Officers as these individual Defendants acted maliciously, willfully,

wantonly and/or in reckless disregard of Jones’ rights; and, whatever additional

relief this Honorable Court deems just equitable and just.

                                     COUNT IV

(Garcia’s Claim of Excessive Force Against One of the Defendant Officers)


   47. Garcia’s realleges paragraphs 1-46 with the same force and effect as if fully

      set forth herein.

   48. The actions and conduct of one of the Defendant Officers, as set forth above,

      in using a greater amount of force than reasonably necessary on Williams
                                           9
   Case: 1:23-cv-02285 Document #: 1 Filed: 04/11/23 Page 10 of 11 PageID #:10

      under color of law constitutes excessive force which violated Williams’ Fourth

      Amendment rights and the same individual Defendant should be held liable

      for doing so pursuant to 42 U.S.C. § 1983.

   49. The actions and conduct of one of the Defendant Officers, as set forth above,

      was the direct and proximate cause of the violations of Garcia’s Fourth

      Amendment rights and caused the damages as set forth above

      WHEREFORE, pursuant to 42 U.S.C. § 1983, Garcia demands actual or

compensatory damages plus the costs of this action and attorney fees from one of

the Defendant Officers; in addition, Garcia demands punitive damages against one

of the Defendant Officers as he/she acted willfully, wantonly and/or in reckless

disregard of Garcia’s rights; and, whatever additional relief this Honorable Court

deems equitable and just.

                                    COUNT V

        (Garcia’s Claim of Failure to Intervene Against One or More of the
                                Defendant Officers)

   50. Garcia realleges paragraphs 1- 49 with the same force and effect as if fully

      set forth herein.

   51. The actions and conduct of one or more Defendant Officers, as set forth

      above, in being present at the scene of the incident, possessing knowledge

      that one of the Defendant Officers had used excessive force, as set forth

      above, on Garcia and had a realistic opportunity to prevent or stop this from

      occurring yet failed to do so was the direct and proximate cause of the

      violations of Garcia’s Fourth Amendment rights and caused the damages as

      set forth above.


                                        10
   Case: 1:23-cv-02285 Document #: 1 Filed: 04/11/23 Page 11 of 11 PageID #:11

      WHEREFORE, pursuant to 42 U.S.C. § 1983, Garcia demands actual or

compensatory damages plus the costs of this action and attorney fees from one or

more of the Defendant Officers; in addition, Garcia demands punitive damages

against one or more of the Defendant Officers as he/she/they acted willfully,

wantonly and/or in reckless disregard of Garcia rights; and, whatever additional

relief this Honorable Court deems equitable and just.

                               COUNT VI
        (Indemnification Pursuant to 745 ILCS 10/9 102 against City)


   52. Plaintiff reallege paragraphs 1-51 with the same force and effect as if fully

      set forth herein.

   53. City is the employer of Defendant Officers.

   54. The Defendant Officers committed the acts alleged above under color of law

      and in the scope of their employment as employees of the City.

      WHEREFORE, Plaintiffs, pursuant to 745 ILCS 10/9-102, demand judgment

against the City in the compensatory and actual amount awarded to Plaintiffs

against one or more Defendant Officers as well as attorney fees, costs and interest

obtained thereon; in addition, for whatever additional relief this Honorable Court

deems equitable and just.

DATED: April 11, 2023                                Respectfully Submitted,


                                              By:      /s/ Frank Avila

Frank Avila
7132 N. Harlem
Suite 107
Chicago, Illinois 60631
FrankAvilaLaw@GMail.com
Ph 773-671-3480
                                         11
